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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                   V.                                      (For Offenses Committed On or After November 1, 1987)
                    DANIEL VENEGAS (2)
                                                                              Case Number:           15CR0896-BAS                 Ttf
                                                                           CAITLIN HOWARD OF FEDERAL DEFENDERS
                                                                           Defendant's Attorney
 REGISTRATION NO.                   44309298
 D -
 ~     pleaded guilty to connt(s)        TWO (2) OF THE INFORMATION

 D was fonnd guilty on connt(s)
     after a plea of not guilty.      , ' , " ..•' ...... >. ".           .    ." .. '
                              is
 Accordingly, the defendant adjudged guilty of suchconnt(~~; 'Yhich involve the following offense(s):
                                            .          7"'                                             .
                                                               ":<.                                                             Count
 Title & Section                        Nature of Offense ......' ". .... .... ..                                              Numberlsl
 21 USC 846, 841(a)(1)                  CONS~IRACY T()DIS'tRlBUTKMETHAM:PHETAMINE                                                 2
                                                             '.:.-'   :.
 AND 18USC 2




                                             .   "           ,-:'

     The defendant is sentenced as provided in pages 2 throQp .. ' .   , 4                         of this judgment.
 The sentence is imposed pursuant to the Sentencing Refor:qtA,ct ofJ98t. .
 D The defendant has been fonnd not guilty on connt(s)
 181   COUllt(S)   REMAINING                                                    .. disImssed Q~~e motion ofthe United States.

  ~     Assessment: $100.00

                                                              ".::: .'


  ~     No fine                         Forfeiture pursuanttotJrderfiled .'                  ...... ..•.. .                ,included herein.
        IT IS ORDERED that the defendant shall tio~th~Uni~ States Attorney for this district within 30 days of any
 change of name, residence, or mailing address .until aU;fmeS; restitution,. cpsts, and special assessments imposed by this
 judgment are fully paid.. If ordered to pay restitutiOllj ~e 4(;}fetidantshall notify the court and United States Attorney of
 any material change in the defendaIrt'seconomic circ~~ce$... .             . . . . ..


                                                                           'NOVEMBER 16.2015
                                                                            D~Of~~
                                                                            HON .. CYNTHlABASHANT                      .
                                                                            'UNITED stAtEs DISTRICT JUDGE


                                                                                                                               15CR0896-BAS
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DEFENDANT:                 DANIEL VENEGAS (2)                                                                Judgment - Page 2 of 4
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                                                     IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 THIRTY (30) MONTHS.




  o       Sentence imposed pursuant to Title 8 USC Section 1326(b).
  1:8:1   The court makes the following recommendations to the Bureau of Prisons:
          THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO A FACILITY IN THE
          WESTERN REGION FOR FAMIL Y VISITS.

                                                          "'       "



                                       ,             .'..",             .    .   -        '.'




  o       The defendant is reminidedto the cust()dyoftll(:~UnitedStatesMatShaL

  o       The defendant shall surrender to the Ullited States 'Marshal for this district:
          o    at                            A ; M . : ' :()If
          o    as notified by the United States Marsh~.,:      ---'"------.;----....;...-----------­
                                                               ,                           ,




          The defendant shall surrender for servic,e ofseritenceattheinstitlltion designated by the Bureau of
   o      Prisons:
          o    on or before
          o    as notified by the United States MarshaC'
          o    as notified by the Probation or Pretrial&erVices bffice.



   I have executed this judgmellt as follows:

          Defendant delivered on   ~   ___ ___  ~     ~~_~______                     ro   ~~~      __   ~~   ____________
   at _ _ _ _ _ _ _ _ _ _ _ • with acertified~opy ofthisj~dgment, ,


                                                                            : UNITED STATES MARSHAL



                                           By            .', '.•', DEPUTY UNITED STATES MARSHAL


                                                                                                                  15CR0896-BAS
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  DEFENDANT:                    DANIEL VENEGAS (2)                                                                           Judgment - Page 3 of 4
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing conditionis suspended, based onthetourt's d~terminatioil tb.atthe defendant poses a low risk of future
o      substance abuse. (Check, if applicable,)         ..     . ..    . . .                                           .
       The defendant shall not possess afir~, ammunition, d~ctive device, or any other dangerous weapon.
       The defendant shall cooperate in the collectionofa DNA; saniplefrOm the defen<iant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Actof2000, pursuarit to 18 USCsecmQn35J}3(a)(7)and 3583(d).· ..
       The defendant shall comply with the requirements of the Sex Offimder Registration and Notification Act (42 U.S.C. § 16901, et
o      seq.) as directed by the probation officer, the Bureau of I1iSQn1!. or any state se]{ offender registration agency in which he or she
       resides, works, is a student, or was convictedofaquali~offense.(C:heck i/,lpplicable.) .
 o     The defendant shall participate in an apprOved programfurdottiestic ·violence. (t:::heck ifapplicable.)

          If this judgment imposes aflneor a restitutionobHgatidn,             itSh~ll
                                                                            be a                 con~iti()n
                                                                                           ofsupervised release that the defendant pay any
     such fine or restitution that remains unpaid atthe co~enceIt\CIltof tb.e term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment. . .             ......                              .
          The defendant shall comply with the standardconditions.thatbavebeen adopted bythls court. The defendant shall also comply
      with any special conditions imposed;   ..              . . ..  . ..          .            .
                                         STANDARD CONQITIONS
                                                    .
                                                             OF SUPERVISION
                                                                        ".                   '    .
                                          .                  '   ..
                                                                  "        "   '         .

     1)  the defendant shall not leave the judicial district without the ~ennission of the cou:r:t or PtObationofficer;·
     2)  the defendant shall report to the prpbation officer in a mlUlrie,randfrequen~directedb}'thecoUrt or probation officer;
     3)  the defendant shall answer truthfully all inqumes by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet ot.h.erfamily responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless eX~usedby the probation officer for schooling, training, or other acceptable
         reasons;                      .               , .. .                 . ..                          .,.
                                                                                    to
     6) the defendant shall noti:tythe probation officer at leastteri day~prior any ~hange in r~sidence or employment;
     7) the defendant shall refrain from excessive use of a1coholand.,~lDotPurchase~possess;use.distribute, or administer any controlled substance or
          any paraphemalia related to any controlled substances. excepta8 prescribed byapbysic!an;            •.. .      .... . .
     8) the defendant shall not frequent places wherecontrolledsubstaii~slirc: iUegailysold, ~~distributed, or administered;
     9) the defendant shall not associate withlUlY persons engaged inctiJ;nin8.iaCtivi1:yand·shaliriotassociate with any person convicted of a felony,
          unless granted pennission to do so by the probation officer;      .    .                     .
     10) the defendant shall permit a probation officer to visiihirnodieratany time at homeor elsewhere andsball permit confiscation of any contraband
          observed in plain view of the probation officer;.         .    "     .                       .. .
     11) the defendant shall noti:ty the probation officer within seven~~tWoh()ursOfbeing IlIl'CSted orquestioned bya law enforcement officer;
     12) the defendant shall not enter into an>, agreement to act as an.inforiner~ra special agent-bfa law enforcement agency without the permission of
          ~~~                                       . . .                                                 . .....

      13) as directed by the probation officer, the defendantshall noti~trur4parties ofriSk:s that       may
                                                                                                          be occasionedby .the defendant's criminal record or
          personal history or characteristicsand sha11 permit the probat;lOD offjcer to. make such notifications and to confirm the defendant's compliance
          with such notification requirement:.·                  . .                            . . . . .



                                                                                                                                     15CR0896-BAS
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DEFENDANT;            DANIEL VENEGAS (2)                                                    Judgment - Page 4 of 4
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                               SPECIAL CONDITIONS OF SUPERVISION

       1. Not enter or reside in the Republic of Mexico without pennission of the court or probation officer.

       2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

       3. Reside in a Residential Reentry Center, RRC, as directed by the probation officer for a period of up to
          120 days.

       4. Resolve all outstanding warrants within 60 days.

        5. Submit your person, property, residence,offlgeor vehicle to a search, cond~cted by a United States
           Probation Officer ala reasonable time and in ~ reasonable matlIler, basedupon reasonable suspicion
           of contraband or evidenceofa violation of a condition ofrelease; failure to submit to a search may
           be grounds for revoc~tion;. the def¢ndanfshRllwa:rn. anYQther~sidents that the premises may be
           subject tosearchespurs\,lant to this'conditio~. "      .    ..',.            .



II
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